                              NO. 07-10-00240-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
--------------------------------------------------------------------------------
SEPTEMBER 15, 2010
--------------------------------------------------------------------------------

                                       
                         JAICOURRIE FINLEY, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
--------------------------------------------------------------------------------

                                       
                 FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;
                                       
                 NO. 61,383-A; HONORABLE DAVID GLEASON, JUDGE
--------------------------------------------------------------------------------


Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              ORDER OF DISMISSAL
	On June 16, 2010, appellant, Jaicourrie Finley, filed a pro se notice of appeal with this Court indicating appellant's desire to appeal the district court's "denial of an injunction/protective order."  On June 30, 2010, this Court received correspondence from appellant, entitled "Appellant's Brief," that indicates that appellant is attempting to appeal the denial of a motion for injunctive relief in his pending criminal prosecution.  This "brief" expressly indicates that the motion for injunctive relief was filed by court-appointed counsel.  The clerk's record in this cause was received on September 9, 2010.  The clerk's record includes a "Motion for Order to Transfer to Another Unit," which was denied by the trial court, and appears to be the motion that appellant is seeking to appeal.  This motion was filed by counsel, and nothing in the clerk's record indicates that counsel has ever been permitted to withdraw from representation of appellant in the underlying criminal proceeding.
Because appellants are not allowed to have hybrid representation on appeal and because the record does not reflect that appellant's counsel has been permitted to withdraw from representation in this matter, we may not consider the merits of appellant's appeal.  See Ex parte Taylor, 36 S.W.3d 883, 887 (Tex.Crim.App. 2001).
	Because this correspondence was filed by appellant pro se while appellant is represented by counsel, the Court hereby dismisses the appeal without prejudice to refiling by counsel.
								Per Curiam

